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Hon. Nathaniel Gorton
c/o Office of the Clerk
United States District Court for the District of Massachusetts
1 Courthouse Way
Boston, MA 02210

Re:    United States of America, v. David Sidoo, et al., No. 19-cr-10080
       (Docketed March 5, 2019)

Dear Judge Gorton:

        Wilmer Cutler Pickering Hale and Dorr LLP (“WilmerHale”) represents Georgetown
University in connection with United States of America, v. David Sidoo, et al. (the “Sidoo
Litigation”).

       Your former judicial law clerk Justin Metz joined WilmerHale on October 27, 2021, as
an associate in the firm’s Boston office. Mr. Metz is a member of the Massachusetts Bar.

        Rule 1.12 of the Massachusetts Rules of Professional Conduct (i) bars a former judicial
law clerk from representing a client in connection with a matter in which he or she participated
personally and substantially while clerking, and (ii) describes notification and screening
requirements that must be put in place to ensure that the former judicial law clerk does not share
information regarding the matter with others at the firm. We understand that Mr. Metz worked
on the Sidoo Litigation while clerking in your chambers during the 2019-2020 term. This letter
summarizes the steps WilmerHale has taken to comply Massachusetts Rule 1.12.

1)     Screening:

       a) Mr. Metz has not worked on the Sidoo Litigation since his arrival at WilmerHale.

       b) All WilmerHale lawyers and employees have been notified that Mr. Metz has been
          screened from the Sidoo Litigation, that they should not discuss the Sidoo Litigation
          with him, and that he should not have access to any files concerning the Sidoo
          Litigation.

       c) WilmerHale has erected electronic barriers to Mr. Metz’s access to all information in
          the firm’s computer network regarding the Sidoo Litigation.
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2)     Mr. Metz will not share in any fees attributable to the firm’s work in connection with the
       Sidoo Litigation.

       We would be happy to provide any additional information the Court may require.

                                            Respectfully submitted,




                                            Bruce M. Berman

cc: All Counsel of Record
